Case 1:03-cv-01160-.]DT-STA Document24 Filed 04/22/05 Page lof2 Pag 25

 

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IN THE UNITED sTATEs DISTRICT CoURT /_ /,-;~_ .i__ 39 ,o »»C
FoR THE WESTERN DISTRICT oF TENNESSEE ’9' ;_.
EASTERN DIVISIoN - §
EQUAL EMPLoYMENT oPPoRTUNlTY ) ""Sj,,/f`
CoMMIssIoN, )
)
Plaintiff, )
)
v. ) cAsE #01-03-1160-T
)
THYSSENKRUPP ELEVATOR )
MANUFACTURING, INC., )
)
Defendant. )

 

ORI)ER GRANTING DEFENDANT’S UNOPPOSED MOTION
TO AMEND RULE 16(b) SCHEDULING ORDER

 

Pending before the Court is Defendant’s unopposed motion to amend
the Scheduling Order previously entered in this case to extend the deadline
for completing discovery from May 2, 2005 until May 23, 2005. For good
cause shown, and in the absence of any opposition by Plaintiff, the request

is hereby granted

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SO ORDERED this Q'Q¢c[ay of April, 2005

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Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 1:03-CV-01160 Was distributed by faX, mail, or direct printing on
April 26, 2005 to the parties listed.

 

 

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Honorable .l ames Todd
US DISTRICT COURT

